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      Counsel for Defendant Microsoft Corporation
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19                               UNITED STATES DISTRICT COURT

20                            NORTHERN DISTRICT OF CALIFORNIA

21
     DANTE DEMARTINI, et al.,                           Case No. 3:22-cv-08991-JSC
22
                            Plaintiffs,                 STIPULATION RE: BRIEFING
23                                                      SCHEDULE
24   v.
                                                        Hon. Jacqueline Scott Corley
25   MICROSOFT CORPORATION,

26                          Defendant.
27

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                                                                   STIPULATION RE: BRIEFING SCHEDULE
                                                                              Case No. 3:22-cv-08991-JSC
             Case 3:22-cv-08991-JSC Document 57 Filed 02/06/23 Page 2 of 3




 1                                                STIPULATION
 2             At the February 2, 2023 status conference, the Court set a hearing on Plaintiffs’ motion for a
 3   preliminary injunction for April 12, 2023, at 1:00 p.m., with the reply brief to be filed no later than
 4   March 23, 2023. The Court instructed the parties to file a stipulation with the briefing schedule.
 5   Plaintiffs’ motion was already filed on December 20, 2022. The parties met and conferred and hereby
 6   stipulate to the following briefing schedule:
 7                    Opposition due March 2, 2023;
 8                    Reply due March 23, 2023.
 9             Additionally, the parties stipulate to a three-day extension for Plaintiffs to submit their
10   opposition to Defendant’s motion to dismiss. Accordingly, they stipulate to the following briefing
11   schedule on the motion to dismiss:
12                    Opposition due February 17, 2023;
13                    Reply due February 24, 2023.
14

15   Dated: February 6, 2023                                 Respectfully submitted,

16                                                           By: /s/ Valarie C. Williams1

17                                                           Valarie C. Williams
                                                             B. Parker Miller
18
                                                             Tania Rice
19                                                           Tyler Blake
                                                             Alston & Bird LLP
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                                                             Rakesh N. Kilaru
21                                                           Anastasia M. Pastan
                                                             Jenna Pavelec
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                                                             Wilkinson Stekloff LLP
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                                                             Counsel for Defendant Microsoft Corporation
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         Ms. Williams attests that each of the other Signatories have concurred in the filing of this document.
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                                                                           STIPULATION RE: BRIEFING SCHEDULE
                                                                                      Case No. 3:22-cv-08991-JSC
             Case 3:22-cv-08991-JSC Document 57 Filed 02/06/23 Page 3 of 3



                                                    By: /s/ David H. Seidel
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 3                                                  Cadio Zirpoli (Bar No. 179108)
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15                                                  Counsel for Plaintiffs
16

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                                      PROPOSED ORDER
19
              PURSUANT TO STIPULATION, IT IS SO ORDERED.
20

21   Date:                                          ______________________________
22                                                  JACQUELINE SCOTT CORLEY
                                                    United States District Judge
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                                                                  STIPULATION RE: BRIEFING SCHEDULE
                                                                             Case No. 3:22-cv-08991-JSC
